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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,             )
                                      )
               Plaintiff,             )       ORDER
                                      )
       vs.                            )
                                      )
Ronald Paul Yellow, Jr.,              )       Case No. 1:21-cr-235
                                      )
               Defendant.             )


       On September 14, 2023. Defendant filed a Motion to Amend Order Granting Release. (Doc.

No. 249). The court previously released Defendant to an inpatient treatment program at Hope and

Healing Addiction and Treatment Centers’ (“H&H”) Sterling House in Scottsdale, Arizona. (Doc.

No. 232). Defendant advises that H&H has recommended that he step down to a sober living

placement given the progress he has made while in treatment and continue with outpatient treatment

He further advises that he has secured a placement at Plugged In, a sex offender sober living home

in Chandler, Arizona, and that H&H is willing and able to transport him daily to its outpatient

treatment facility for treatment. He requests the court amend his release conditions to permit him

to transition out of Sterling House and into Plugged In.

       The court GRANTS Defendant’s motion (Doc. No. 249) and amends Defendant’s release

conditions as follows. Defendant shall be permitted to transition out of Sterling House and into

Plugged In’s facility in Chandler, Arizona, with the understanding that he will regularly attend and

fully participate in H&H outpatient treatment program. Defendant shall comply with all of Plugged

In’s rules and regulations and shall not change his residence without the prior permission of the

Pretrial Services Officer.


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IT IS SO ORDERED.

Dated this 18th day of September, 2023.

                                              /s/ Clare R. Hochhalter
                                              Clare R. Hochhalter, Magistrate Judge
                                              United States District Court




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